Case 3:13-cv-02939-MEM Document 100-4 Filed 09/12/15 Page 1 of 3

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UNTTFD STATES DISTRICT? COURT
IN THE MIDDLE DISTRICT OF PENNSYLVANTA

CAROL A. BRENNAN, ANTHONY COLINO ‘and COURTNE Y BELLOMO,
Individuaily and on Behalf of All Others Similarly Situated,

Plaintiffs,

vs. No. 13-CcVv-02939

COMMUNITY BANK, N.A.,
Defendant.

Deposition of PAMELA DENT, held on October 28,

2014, commencing at 10:14 a.m. at the offices of

Community Bank, N.A., Court Street, Canton,
New york, before Kristin M. Ashley, Registered

Professional Reporter and Notary Public in and for

the State of New York

Page 1

 
 

  

Case 3:13-cv-02939-MEM Document 100-4 Filed 09/12/15 Page 2 of3

24
25

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LOZ81APD ext

Q Lf you want to get a judgement, you contact

the attorneys for the bank?

A Yes. Yes.

Kristin M. Ashley, RPR
Tetephone: C31L5> 566-9099

31
DENT - BARRETT

Q And what law firm is that?

A Riehiman, Shafer & Shafer is one of the

ones that we use in New York, and Shields Law Firm 7s

the one that we use in Pennsylvania.
And where is the Shields Law Firm Ttocated?

Q
If you know. at's okay.
A Yeah, I'm sorry.
Q Now, ZX believe you said that a decision is

‘made as to whether to go for a judgement, and you don't

do that in al? cases. Was that correct?

A That's correct.
And what would be the Factors determining
for a judgement?

Q
whether you would or would not go
First of all, whether the custemer has set

If they set up a

A
Up @ payment arrangement with us.
payment arrangement with us, we would not pursue them
If they had not set up a payment

any further.
then we would Took at it to see 1Ff

arrangement with us,
they had assets. If they had assets, we would send it
on to the attorney.

Q How would you determine if they had assets?

Page 31
Case 3:13-cv-02939-MEM Document 100-4 Filed 09/12/15 Page 3of3

LO/PSldpo xt
22 A we would look at a credit ap.
23 Q Anything else?
24 A Credit: report.
25 Q Anything else?
Kristin M. Ashley, RPR
Telephone: C315) 566-9099
32
DENT - BARRETT
1 A No.
2 Q And assuming they don’t have assets, what
3 happens then?
4 A We continue to send them letters and give
5 them the opportunity somewhere down the road to set up
6 a payment arrangement with us until it becomes at
7 statute, then we would file it in storage.
8 Q In other words, at some point you give up?
9 A Yes.
10 Q How long is that?
. F2 A well, the statute,
12 Q Woutd that be six years in New York?
13 A Yes. I< ~- yes.
14 Q How long is it in Pennsylvania? Do you
“15 know?
16 A I believe it's four.
17 MR. FELLOWS: You're referencing the
18 statute of limitations, right --
19 MS. DENT: Yes.
20 MR. FELLOWS: -- okay, when you a
el statute.

Page 32
